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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA                                                       PLAINTIFF


v.                              NO. 4:13CR00167-03 JLH


JUSTIN PETTIS                                                                DEFENDANT


                                           ORDER


      Defendant Justin Pettis has filed the pending motion for detention hearing. See

Document 62. For good cause shown, the motion is granted. A detention hearing will be

held beginning at 2:00 p.m. on Friday, August 9, 2013, in Courtroom 2B of the Richard

S. Arnold United States Courthouse in Little Rock, Arkansas. This order is the only notice

of the hearing the parties will receive.

      IT IS SO ORDERED this     6     day of August, 2013.




                                             UNITED STATES MAGISTRATE JUDGE
